          8:16-cr-00091-JMG-CRZ                   Doc # 113     Filed: 01/20/17          Page 1 of 8 - Page ID # 512
AO 245B(Rev. 11/16) Judgment in a Criminal Case

                                         UNITED STATES DISTRICT COURT
                                                                for the
                                                         District of Nebraska

               UNITED STATES OF AMERICA                              JUDGMENT IN A CRIMINAL CASE

                                    v.
                                                                     Case Number: 8:16CR91-002
                                                                     USM Number: 29253-047

                          DIANA BARTA                                Jerry M. Hug
                                                                     Defendant’s Attorney



THE DEFENDANT:
☒ pleaded guilty to count(s) III of the Indictment.
☐ pleaded nolo contendere to count(s) which was accepted by the court.
☐ was found guilty on count(s) after a plea of not guilty
The defendant is adjudicated guilty of these offenses:
Title & Section& Nature of Offense                                           Offense Ended                              Count
21:841(a)(1) POSSESSION WITH INTENT TO DISTRIBUTE                            January 8, 2016                            III
METHAMPHETAMINE

        The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
☐ The defendant has been found not guilty on count(s)
☐ Count(s) dismissed on the motion of the United States.

         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change in the defendant’s
economic circumstances.
                                                                           January 19, 2017
                                                                           Date of Imposition of Sentence:


                                                                        s/ John M. Gerrard
                                                                        United States District Judge

                                                                        January 20, 2017
                                                                        Date
          8:16-cr-00091-JMG-CRZ                 Doc # 113    Filed: 01/20/17     Page 2 of 8 - Page ID # 513
AO245B(Rev 02/16) Judgment in a Criminal Case                                             Judgment Page 2 of 8
DEFENDANT: DIANA BARTA
CASE NUMBER: 8:16CR91-002
                                                      IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of twenty-two (22) months.

☒The Court makes the following recommendations to the Bureau of Prisons:

    1. That the defendant be allowed to participate in the Residential Drug Treatment Program or any similar drug
       treatment program available.
    2. That the defendant be incarcerated in a federal facility as close as possible to Omaha, NE.
    3. Defendant should be given credit for time served. Defendant was detained from 1/8/16 until 5/4/16.


☐The defendant is remanded to the custody of the United States Marshal.

☐The defendant shall surrender to the United States Marshal for this district:
         ☐ at
         ☐ as notified by the United States Marshal.
☒The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
    1. ☒ before 1 p.m. on March 22, 2017.
         ☒ as notified by the United States Marshal.
         ☐ as notified by the Probation or Pretrial Services Office.


                                                            RETURN

I have executed this judgment as follows:


        Defendant was delivered on ___________________________ to ______________________________________
at ________________________________, with a certified copy of this judgment.

                                                                   ________________________________________
                                                                          UNITED STATES MARSHAL

                                                                   BY: ___________________________________
                                                                         DEPUTY UNITED STATES MARSHAL
          8:16-cr-00091-JMG-CRZ                 Doc # 113   Filed: 01/20/17       Page 3 of 8 - Page ID # 514
AO245B(Rev 02/16) Judgment in a Criminal Case                                                Judgment Page 3 of 8
DEFENDANT: DIANA BARTA
CASE NUMBER: 8:16CR91-002

                                                   SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of three (3) years.

                                                 MANDATORY CONDITIONS

1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
   release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
   ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of
        future substance abuse. (check if applicable)
4. ☒You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5. ☐You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901,
   et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the
   location where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6. ☐You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These
conditions are imposed because they establish the basic expectations for your behavior while on supervision and identify
the minimum tools needed by probation officers to keep informed, report to the court about, and bring about
improvements in your conduct and condition.

1.       You must report to the probation office in the federal judicial district where you are authorized to reside within 72
         hours of your release from imprisonment, unless the probation officer instructs you to report to a different
         probation office or within a different time frame.
2.       After initially reporting to the probation office, you will receive instructions from the court or the probation
         officer about how and when you must report to the probation officer, and you must report to the probation officer
         as instructed.
3.       You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
         permission from the court or the probation officer.
4.       You must answer truthfully the questions asked by your probation officer.
5.       You must live at a place approved by the probation officer. If you plan to change where you live or anything
         about your living arrangements (such as the people you live with), you must notify the probation officer at least
         10 days before the change. If notifying the probation officer in advance is not possible due to unanticipated
         circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
         change.
6.       You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
         probation officer to take any items prohibited by the conditions of your supervision that he or she observes in
         plain view.
7.       You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
         excuses you from doing so. If you do not have full-time employment you must try to find full-time employment,
         unless the probation officer excuses you from doing so. If you plan to change where you work or anything about
         your work (such as your position or your job responsibilities), you must notify the probation officer at least 10
         days before the change. If notifying the probation officer at least 10 days in advance is not possible due to
         unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a
         change or expected change.
          8:16-cr-00091-JMG-CRZ                 Doc # 113   Filed: 01/20/17   Page 4 of 8 - Page ID # 515
AO245B(Rev 02/16) Judgment in a Criminal Case                                          Judgment Page 4 of 8
DEFENDANT: DIANA BARTA
CASE NUMBER: 8:16CR91-002
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know
      someone has been convicted of a felony, you must not knowingly communicate or interact with that person
      without first getting the permission of the probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72
      hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon
      (i.e., anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to
      another person such as nunchakus or Tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
      informant without first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the
      probation officer may require you to notify the person about the risk and you must comply with that instruction.
      The probation officer may contact the person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written
copy of this judgment containing these conditions. For further information regarding these conditions, see Overview of
Probation and Supervised Release Conditions, available at: www.uscourts.gov.

Defendant’s Signature                                                                Date
          8:16-cr-00091-JMG-CRZ                 Doc # 113   Filed: 01/20/17       Page 5 of 8 - Page ID # 516
AO245B(Rev 02/16) Judgment in a Criminal Case                                               Judgment Page 5 of 8
DEFENDANT: DIANA BARTA
CASE NUMBER: 8:16CR91-002
                                            SPECIAL CONDITIONS OF SUPERVISION

a.       You must not purchase or possess, use, distribute, or administer any alcohol, just the same as any other narcotic or
         controlled substance.

b.       You must submit your person, residence, office, or vehicle to a search conducted by a United States Probation
         Officer at any time; failure to submit to a search may be grounds for revocation; you must warn any other
         residents that the premises may be subject to searches pursuant to this condition.

c.       You must attend, pay for and successfully complete any diagnostic evaluations, treatment or counseling programs,
         or approved support groups (e.g., AA/NA) for alcohol and/or controlled substance abuse, as directed by the
         probation officer.

f.       You must attend, successfully complete, and pay for any mental health diagnostic evaluations and treatment or
         counseling programs as directed by the probation officer.

n.       You must provide the probation officer with access to any requested financial information.

zz.      You must report to the Supervision Unit of the U.S. Probation Office for the District of Nebraska between the
         hours of 8:00 a.m. and 4:30 p.m., 111 South 18th Plaza, Suite C79, Omaha, Nebraska, (402) 661-7555, within
         seventy-two (72) hours of being placed on probation or release from confinement and, thereafter, as directed by
         the probation officer.
          8:16-cr-00091-JMG-CRZ                  Doc # 113    Filed: 01/20/17        Page 6 of 8 - Page ID # 517
AO245B(Rev 02/16) Judgment in a Criminal Case                                                   Judgment Page 6 of 8
DEFENDANT: DIANA BARTA
CASE NUMBER: 8:16CR91-002
                                                CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties in accordance with the schedule of payments set
forth in this judgment.

                          Assessment                   JVTA Assessment*           Fine                Restitution

TOTALS                    $100.00

☐ The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO245C) will be
  entered after such determination.

☐ The defendant must make restitution (including community restitution) to the following payees in the amount listed
  below.

   If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
   specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. §
   3664(i), all nonfederal victims must be paid before the United States is paid.

      Name of Payee                     Total Loss**                   Restitution Ordered                 Priority or Percentage



Totals


☐ Restitution amount ordered pursuant to plea agreement $

☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in
  full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
  on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

☐ The court determined that the defendant does not have the ability to pay interest and it is ordered that:

   ☐ the interest requirement is waived for the ☐ fine ☐ restitution

   ☐ the interest requirement for the ☐ fine ☐ restitution is modified as follows:

*Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
          8:16-cr-00091-JMG-CRZ                 Doc # 113         Filed: 01/20/17         Page 7 of 8 - Page ID # 518
AO245B(Rev 02/16) Judgment in a Criminal Case                                                         Judgment Page 7 of 8
DEFENDANT: DIANA BARTA
CASE NUMBER: 8:16CR91-002

                                                 SCHEDULE OF PAYMENTS


Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A   ☒ Lump sum payment of $100.00 due immediately, balance due
      ☐      not later than _____, or
      ☒      in accordance with       ☐ C, ☐ D, ☐ E, or ☒ F below; or

B   ☐ Payment to begin immediately (may be combined with ☐ C, ☐ D, or ☐ F below); or

C   ☐ Payment in equal ____ (e.g., weekly, monthly, quarterly) installments of $ _____ over a period of _____ (e.g., months or
      years), to commence _____ (e.g., 30 or 60 days) after the date of this judgment; or

D   ☐ Payment in equal _____ (e.g., weekly, monthly, quarterly) installments of $ _____ over a period of _____ (e.g., months or
      years), to commence ______ (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E   ☐ Payment during the term of supervised release will commence within _____ (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F   ☒ Special instructions regarding the payment of criminal monetary penalties:


         All financial penalty payments are to be made to the Clerk of the U. S. District Court, 111 S. 18th Plaza, Suite 1152, Omaha,
         NE 68102-1322.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

☐        Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
corresponding payee, if appropriate.



☐        The defendant shall pay the cost of prosecution.

☐        The defendant shall pay the following court cost(s): _____

☐        The defendant shall forfeit the defendant’s interest in the following property to the United States:
          8:16-cr-00091-JMG-CRZ                 Doc # 113   Filed: 01/20/17   Page 8 of 8 - Page ID # 519
AO245B(Rev 02/16) Judgment in a Criminal Case                                          Judgment Page 8 of 8
DEFENDANT: DIANA BARTA
CASE NUMBER: 8:16CR91-002


CLERK'S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a document which was electronically filed with the United States
District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
